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Case 1:19-cr-00253-TSE Document 155 Filed 01/02/20 Page 1 of 1 PagelD# 679

UNITED STATES DISTRICT COURT
for the
EASTERN DISTRICT OF VIRGINIA

U.S.A. vs. Jared Edward Jaurequi Docket No. 1:19-CR-253-005
Petition for Action on Conditions of Pretrial Release

COMES NOW, U.S. PROBATION OFFICER Nicole R. Andrews, presenting an official report upon the conduct
of defendant Jared Edward Jauregui, who was continued on pretrial release supervision by Your Honor sitting
in the court at Alexandria, Virginia, on October ]1, 2019, under the following conditions:

1) Report on a regular basis to Pretrial Services; 2) Undergo substance abuse testing and/or treatment as directed:
3) Continue or actively seek employment, 4) ‘Travel restricted to the District of Nevada and the Washington, D.C.
metropolitan area, for court purposes; 5) Reside at current residence and not move without prior approval of the
Court or Pretrial Services; 6) Avoid all contact, directly or indirectly, with any co-defendants or potential
witnesses related to the charged offense unless in the presence of counsel, except for husband,
Kristopher Dallmann, and 7) Participate in a program approved by the Pretrial Services Office for mental health
treatment. The defendant shall waive all rights of confidentially regarding the mental health to allow the release
of information to the Probation/Pretrial Services Office and authorize communication between the probation
officer and the mental health treatment provider.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT AND FOR CAUSE AS FOLLOWS:

On December 12, 2019, the defendant failed to report as directed to U.S. Pretrial Services Officer Emily McKillip
in the District of Nevada.

On December 12, 2019, the defendant failed to submit a urine specimen as required in the District of Nevada.
On December 16, 2019, the defendant failed to submit a urine specimen as required in the District of Nevada.
On December 19, 2019, the defendant failed to report as directed to Officer Emily McKillip.

PRAYING THAT THE COURT WILL issue a SUMMONS and require the defendant to return to court and
show cause why his conditions of release should not be revoked.

RETURNABLE DATE: Jon. {0 2020 @ Fa.m,

ORDER OF COURT I declare under the penalty of perjury that the
d foregoing is true and correct.
Considered and ordercd this /, day off .

Executed on: December 31, 2019
Nicole R. Andrews omvanairssnsosey
Nicole R. Andrews

U.S. Probation Officer
(703) 366-211)

 

 
